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February 10, 2025
Honorable Judge Weigand

My name is Mia Perez. | grew up in Pittsburgh and am grateful for the opportunities this city
provides. As a new nurse | am constantly looking for ways to do things better, and this habit has
trickled into my personal life. When | am lucky to be in the communities I’ve found, | think of how
| can function to serve them in ways that are best and fit for them, the same way | do when |
think of my patients and bringing them back to health.

Although this habit has led to improvements in both my professional and personal life, it has
also caused me much grief in the past few months.

When | first met Mohamed | felt a sense of comfort. He was very soft spoken and smiled with his
eyes, and seemed so full of joy simply enjoying a meal with a group of people he had just met.
After that, | always knew | could count on Mohamad to be present and supportive. As my dear
friend Mohamad Hamad is facing serious charges, we are unable to share community spaces. It
has become more difficult to make sure that a valued member of my community is getting their
needs met, and | am worried that he is struggling with isolation. Selfishly, | miss his presence
and support for myself as well. If | were able to share space with Mohamad a weight would be
lifted off of my shoulders as | could be sure that he receives the support and community he
needs to continue improving and lighting up rooms.

Thank you for reading this letter. You can reach me at if you need more
information.

Sincerely,
Mia Perez

EXHIBIT H
